                   Case 2:20-cv-01082-MAT Document 19 Filed 08/18/20 Page 1 of 3




 1                                                                           Honorable Mary Alice Theiler

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 6
                                         UNITED STATES DISTRICT COURT
 7                                      WESTERN DISTRICT OF WASHINGTON
                                                  AT SEATTLE
 8
   STEVEN VANCE and TIM JANECYK, for
 9 themselves and others similarly situated,
                                                                No. 2:20-cv-01082-MAT
10                                      Plaintiffs,
                                                                STIPULATION AND
11            v.                                                [PROPOSED] ORDER
                                                                EXTENDING TIME TO
12 MICROSOFT CORPORATION,                                       RESPOND TO COMPLAINT
13                                      Defendant.              NOTE ON MOTION
                                                                CALENDAR: August 18, 2020
14

15            The parties, by and through their counsel, stipulate and agree as follows:

16            1.        Plaintiffs initiated this lawsuit on July 14, 2020, and served Microsoft

17 Corporation with the Summons and Complaint on July 23, 2020.

18            2.        Pursuant to Fed. R. Civ. P. 12(a)(1)(A)(i), “[a] defendant must serve an answer

19 within 21 days after being served with the summons and complaint.” As a result, absent order of

20 the Court, Microsoft’s response to the Complaint was due on or before August 13, 2020.

21            3.        On August 4, 2020, the parties agreed, subject to the Court’s approval, that

22 Microsoft may have until September 14, 2020, to respond to the Complaint.

23            IT IS SO STIPULATED.

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     STIPULATION EXTENDING TIME
     TO RESPOND TO COMPLAINT
                                                                                    Davis Wright Tremaine LLP
     (2:20-cv-01082-MAT) - 1                                                                 L AW O FFICE S
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                                                                                         Seattle, WA 98104-1610
                                                                                  206.622.3150 main · 206.757.7700 fax
                 Case 2:20-cv-01082-MAT Document 19 Filed 08/18/20 Page 2 of 3




 1            DATED this 18th day of August, 2020.

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                 Case 2:20-cv-01082-MAT Document 19 Filed 08/18/20 Page 3 of 3




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 9

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11                                               ORDER
12            Pursuant to stipulation, IT IS SO ORDERED.
13            DATED this                day of               , 2020.
14

15                                                 Honorable Mary Alice Theiler
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